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                           IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF OHIO
                                  EASTERN DIVISION



MADELEINE ENTINE,

                        Plaintiff,

                                                        Civil Action 2:17-cv-946
        v.                                              Judge Algenon L. Marbley
                                                        Magistrate Judge Jolson
SCOTT LISSNER,

                        Defendants.




                                               ORDER

        This case has been reported settled. A telephonic status conference will be held on April 26,

2018 at 10:00 a.m., unless the dismissal entry is received prior to that time.

        IT IS SO ORDERED.



Date: March 23, 2018                                    /s/ Kimberly A. Jolson
                                                        KIMBERLY A. JOLSON
                                                        UNITED STATES MAGISTRATE JUDGE
